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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

UNITED STATES OF AMERICA

       v.                                CASE NO. 6:24-cr-201-GAP-EJK

HASHEM YOUNIS HASHEM HNAIHEN


      UNITED STATES’ SUPPLEMENT TO ORE TENUS MOTION FOR
                          DETENTION

       On August 12, 2024, at defendant Hashem Younis Hashem Hnaihen’s

arraignment, the United States made an ore tenus motion for detention pursuant to

18 U.S.C. §§ 3142(f)(1)(A) and (f)(2)(A). (Doc. 12). A detention hearing is set for

August 14, 2024, at 10:00 AM. The United States files this written supplement to

outline some of the evidence which it will set forth, in more detail, at the hearing.

I.     RESTAURANT ATTACKS

       Starting around June of 2024, Hnaihen began targeting and attacking

businesses in the Orlando area for their perceived support for the State of Israel.

Wearing a mask, under the cover of night, Hnaihen would smash the glass front

doors of the businesses and leave behind “Warning Letters.” In these letters, which

were addressed to the United States government, Hnaihen laid out a series of

political demands, culminating in a threat to “destroy or explode everything here in

whole America. Especially the companies and factories that support the racist state

of Israel.”
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                      (Damage at two of the targeted businesses)


II.   SOLAR FARM ATTACK

      Hnaihen’s attacks soon escalated. At the end of June, as law enforcement

raced to identify the masked attacker, Hnaihen broke into a solar power generation

facility in Wedgefield, Florida, and spent hours systematically destroying solar panel

arrays. The solar farm’s engineers and law enforcement investigators quickly realized

that Hnaihen’s attack bore signs of premeditation and sophistication. For example,

whenever Hnaihen cut a wire, he would cut so close to the panel that it was

impossible to splice in a new wire, permanently decommissioning the entire panel.

And as Hnaihen worked across row after row, he identified and selectively destroyed

the lead panel in a daisy-chained series of panels, taking the entire chain offline.

Further, Hnaihen targeted and destroyed the computers which allowed the panel

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arrays to tilt to face the sun as it moves across the sky. In a little over two hours,

Hhaihen was able to efficiently decommission the entire field pictured below and

cause over $700,000 in damage.




                (Aerial photo of the solar panel field Hnaihen attacked,
                       with targeted panel areas outlined in red)




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           (Example of solar panel array with cut wires disabling the
              tilt mechanism and daisy-chained series of panels)




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  (Solar panels with glass cracked, necessitating complete replacement of the panel)


III.   ADDITIONAL CONCERNS

       As the United States will discuss in greater detail at the detention hearing, two

other circumstances raise concerns should the defendant be released. First, in

February of 2024, Hnaihen attempted to purchase a firearm and ammunition from a

gun store in Orlando, despite being prohibited from owning firearms due to his

alienage. On his gun-purchase paperwork, Hnaihen falsely stated that he was not an

alien who has been admitted to the United States under a nonimmigrant visa.

Fortunately, the Hnaihen’s prohibited status was discovered during his background

check, so he never gained possession of the firearm and ammunition.


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      Additionally, Hnaihen’s threats and acts of destruction show a rapid pattern of

escalation. What started as attacks on restaurants quickly morphed into a major

attack on an energy facility. The Court should be aware that on July 9, 2024, two

days before the Orange County Sheriff’s Office arrested Hnaihen, employees at an

industrial propane gas depot in Orlando, Florida, discovered an identical copy of the

defendant’s Warning Letter posted outside the facility. No damage was discovered at

that time, but operations at the facility were significantly disrupted while a fire

department hazmat team cleared the scene. Final fingerprint analysis is forthcoming.

      The United States will provide additional evidence in support of detention at

the August 14, 2024, hearing.




                                         Respectfully submitted,

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                                         United States Attorney


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                            CERTIFICATE OF SERVICE

       I hereby certify that on August 13, 2024, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:

       Aziza Hawthorne, Esq.




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